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                                                 August 21, 2019


VIA ECF

Hon. Christian F. Hummel
United States Magistrate Judge
United States District Court
Northern District of New York
James T. Foley U.S. Courthouse
445 Broadway, Room 441
Albany, NY 12207

         Re:      National Rifle Association of America v. Cuomo, No. 18-cv-00566-TJM-CFH

Dear Judge Hummel:

       My firm represents the National Rifle Association of America (“NRA”). I write in
response to the August 21, 2019 letter from William Scott seeking an additional thirty-two (32)
days within which to comply with this Court’s Order (ECF No. 121) directing them to submit
unredacted documents and a privilege log for this Court’s in camera review.

       Mr. Scott contacted me on August 19 with a request for an additional thirty (30) days. I
was waiting for approval from the client to respond, and my response to Mr. Scott was to be sent
this morning. A simple follow-up email prior to involving this Court might have resulted in a
compromise. In any event, the NRA opposes a longer extension but was, and is, amenable to a
15-day extension, which would set the deadline at September 13, 2019.

        Defendants had many months to prepare a privilege log. Indeed, Plaintiff’s document
requests were served nine months ago, and the motions to compel and for a protective order were
fully briefed six months ago. This Court understood this when it gave Defendants yet another
twenty-one (21) days to submit the log. Plaintiff has been diligently seeking discovery from
Defendants, and discovery needs to move forward promptly.

          Thank you for your consideration of this matter.

                                                      Respectfully,




                                                      John Canoni
cc:      All Counsel of Record (via ECF)
4826-4912-3746, v. 2
